Case 2:05-cr-20201-.]DB Document 27 Filed 08/01/05 Page 1 of 2 Page|D 39

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UNITED STATES OF AMERICA,
Plaintiff,
v. No. 05-20201-B/An
JOHN FORD,
Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion to Change Bond Conditions filed on July 25,
2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections

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IT ls so oRDERED this '$l day of July, 2005.

 

J.DANIEL BREEN
NIT D sTATEs DISTRICT JUDGE

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UNITED sTATE D"ISIC COURT - WESTERN D'S'TRCT 0 TESSEE

 
 

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:05-CR-20201 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

